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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YASHICA ROBINSON, M.D.,            )
et al., on behalf of               )
themselves, their                  )
patients, physicians,              )
clinic administrators,             )
and staff,                         )
                                   )
        Plaintiffs,                )
                                   )        CIVIL ACTION NO.
        v.                         )         2:19cv365-MHT
                                   )              (WO)
STEVEN MARSHALL, in his            )
official capacity as               )
Alabama Attorney General,          )
et al.,                            )
                                   )
        Defendants.                )

                                ORDER

    Upon agreement of the parties, it is ORDERED that:

    (1) The joint motions to dismiss (doc. nos. 22, 23,

24, 28, & 43) are granted.

    (2) Defendants Danny Carr, Daryl D. Bailey, Scott

Harris, Mark H. LeQuire, Robert L. Broussard, Ashley

Rich,    and   Hays   Webb   are   dismissed     without    prejudice

from this action, and are terminated as parties.
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      (3)    Defendants           Carr,       Bailey,        Harris,     LeQuire,

Broussard, Rich, and Webb and their employees, agents,

and successors in office shall be bound by the terms of

any     injunctive         (including          but     not     limited       to    a

temporary restraining order or preliminary injunction),

declaratory, and/or other relief against the Alabama

Attorney General and/or any of the other defendants by

any court in this action so long as such relief remains

in effect as to the Alabama Attorney General and/or any

other defendant(s).               However, defendants Carr, Bailey,

Harris, LeQuire, Broussard, Rich, and Webb and their

employees, agents, and successors shall not be liable

for    any    award       of    attorneys’       fees,       costs,     or   other

monetary damages that might be included as part of such

relief.        Nor    shall       defendants         Carr,    Bailey,     Harris,

LeQuire, Broussard, Rich, and Webb and their employees,

agents,      and     successors      be       bound    by    any    relief      that

subsequently         is        reversed,       vacated,       set      aside,     or




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otherwise limited as to the Alabama Attorney General

and/or any other defendant(s).

    DONE, this the 7th day of June, 2019.


                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                  3
